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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA


In re:                                                                        Chapter 15

ESTRATEGIAS EN VALORES et. al.,                                       Case No.         17-16559-LMI



__________________Debtors________/                                        Jointly Administered

In re:

TATIANA QUINTERO BAIZ                                                 Case No.         17-22193-LMI


__________________Debtors________/                                        Hearing Requested

     FOREIGN REPRESENTATIVE’S MOTION TO COMPEL COMPLIANCE WITH
    COURT ORDER OR, IN THE ALTERNATIVE, FOR TURNOVER FROM DEBTOR
                 IN THE FOREIGN NON-MAIN PROCEEDING1

         The Foreign Representative, under 11 U.S.C. § 542, respectfully requests that this Court

enter an order that Tatiana Quintero (“Quintero”) immediately deliver her property at 1500 NW

89th Court, Unit 222, Doral, Florida 33172 (the “Doral Property”) to the Foreign Representative

and its agents. In support, the Foreign Representative states as follows:

         1.      On December 18, 2017, this Court entered an Order Recognizing Foreign Non-

Main Proceeding [D.E. 18] (the “Order”).

         2.      The Order recognized this foreign non-main proceeding and appointed Luis

Fernando Alvarado as the foreign representative of this action. Order ¶¶ 2 – 3.




1
 This Motion is filed in and pertains only to the non-main proceeding, In re Tatiana Quintero, Case No.: 17-22193-
LMI, which is being jointly administered with In re Estrategias en Valores, et. al., Case No. 17-16559-LMI
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           3.    The Order directed Quintero to “immediately turn over to the Foreign

Representative all nonexempt property belonging to the estate under 11 U.S.C. §541 . . . .” Order

¶ 5(ii).

           4.    Furthermore, the Order entrusted the Foreign Representative with the

administration and realization of all Quintero’s assets within the territorial jurisdiction of the

United States. Order at ¶ 5(iii).

           5.    On June 16, 2016, Riviera Point Business Center at Doral, LLC, deeded the Doral

Property to Quintero. Exhibit A.

           6.    The public records indicate that Quintero is currently—and has been since the June

16, 2016 transfer—the sole owner of the Doral Property. Exhibit B.

           7.    The public records do not show any mortgage or lien on the Doral Property and

therefore, on information and belief, Quintero owns the property in fee simple. Exhibit C.

           8.    On information and belief, Quintero does not currently live in the Doral Property

and has not lived there since at least September 2017.

           9.    In 2017, Quintero did not declare any tax exemption value for the Doral Property

in 2017. Exhibit B.

           10.   The Doral Property is not exempt and therefore, under 11 U.S.C. § 542(a), it is

property of the estate.

           11.   Pursuant to 11 U.S.C. §§ 1521(a)(7), 542 and the Order, the Foreign Representative

is entitled to immediate delivery of the Doral Property.

           12.   The undersigned have attempted to coordinate turnover of the Doral Property with

Quintero’s counsel but Quintero’s counsel has not cooperated and has, as of the date of this filing,

refused to deliver the Doral Property to the Foreign Representative.
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       Wherefore, the Foreign Representative, respectfully requests that this Court enter an order

directing Quintero to immediately turn over the Doral Property to the Foreign Representative and

grant the Foreign Representative any further relief this Court deems just and proper.


                             CERTIFICATION OF ATTORNEY

       The undersigned certify that they are admitted to the Bar of the United States District Court

for the Southern District of Florida and are in compliance with the additional qualifications to

practice in this court set forth in Local Rule 2090-1(A).

Dated: January 12, 2018                            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true copy of this Motion has been served via the Court’s CM/ECF

electronic noticing system.



                                                         _/s/ Michael Fasano_____
                                                             Michael Fasano
